                Case: 1:16-cv-00723
ILND 450 (Rev. 4/29/2016)                         Document
                          Judgment in a Civil Action         #: 70 Filed: 05/09/18 Page 1 of 1 PageID #:486
                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

 Neal Scott, Jr.

 Plaintiff(s),
                                                                     Case No. 16cv723
 v.                                                                  Judge Sheila Finnegan

 Menard, Inc.

 Defendant(s).

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)

                           which        includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s) Menard, Inc. and against plaintiff(s) Neal Scott, Jr.

         Defendant(s) shall recover costs from plaintiff(s)


                  other:


This action was (check one):

      tried by a jury with Judge Sheila Finnegan presiding, and the jury has rendered a verdict.
      tried by Judge         without a jury and the above decision was reached.
      decided by Judge on a motion.

Date: 5/9/2018                                                  Thomas G. Bruton, Clerk of Court

                                                                 Scott White, Deputy Clerk
